 Case 2:21-mc-51044-LVP-APP ECF No. 8, PageID.67 Filed 11/05/21 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

JOHN DOE,

              Petitioner/Plaintiff,

v.                                                      No. 2:21-mc-51044
                                                        Honorable Linda V. Parker
PEOPLE OF THE STATE
OF MICHIGAN, ATTORNEY
GENERAL DANA NESSEL,
OAKLAND COUNTY CEO DAVID
COULTER,

          Respondents/Defendants.
_______________________________/

       OPINION AND ORDER SUMMARILY DISMISSING ACTION

       On July 29, 2021, Petitioner/Plaintiff filed a “Motion for Declaratory

Judgment and Injunctive Relief” with this Court. (ECF No. 1.) It appears from the

filing that Petitioner/Plaintiff is seeking relief related to his guilty plea to certain

felonies in the Circuit Court for Oakland County.

       The Court is dismissing this action for lack of subject matter jurisdiction.

Even when construed liberally, the Court is unable to discern any remotely

plausible federal cause of action set forth in the filing. Steel Co. v. Citizens for

Better Env’t, 523 U.S. 83, 89 (1998) (providing that dismissal of a federal claim

for lack of subject-matter jurisdiction is proper where the claim is “so insubstantial,

implausible, foreclosed by prior decisions of this Court, or otherwise completely
 Case 2:21-mc-51044-LVP-APP ECF No. 8, PageID.68 Filed 11/05/21 Page 2 of 3




devoid of merit as not to involve a federal controversy”). And to the extent

Petitioner/Plaintiff is challenging his state court convictions or is seeking to sue

individuals or entities responsible for any conduct leading to his alleged “fraud-

based plea bargain,” the proper vehicle to do so is through an application for the

writ of habeas corpus under 28 U.S.C. § 2254 or a civil complaint complying with

the requirements of Rule 8 of the Federal Rules of Civil Procedure. (“A pleading

that states a claim for relief must contain . . . a short and plain statement of the

claim showing that the pleader is entitled to relief.”) (emphasis added). There is a

“Complaint for a Civil Case” form available on the District’s website at

http://www.mied.uscourts.gov/index.cfm?pageFunction=proSe. The website offers

an entire section devoted to “Representing Yourself,” including a “How to File a

Lawsuit Handbook.” See id.

      Accordingly,

      IT IS ORDERED that this action is DISMISSED.

      IT IS SO ORDERED.

                                                 s/ Linda V. Parker
                                                 LINDA V. PARKER
                                                 U.S. DISTRICT JUDGE
 Dated: November 5, 2021
Case 2:21-mc-51044-LVP-APP ECF No. 8, PageID.69 Filed 11/05/21 Page 3 of 3




I hereby certify that a copy of the foregoing document was mailed to counsel of
record and/or pro se parties on this date, November 5, 2021, by electronic and/or
U.S. First Class mail.


                                             s/Aaron Flanigan
                                             Case Manager
